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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                        DOC #: _________________
                                                                 DATE FILED: 5/11/2022

               -against-
                                                                         20 Cr. 412-4 (AT)

TIMOTHY SHEA,                                                                 ORDER

                       Defendant.
ANALISA TORRES, District Judge:

      The trial scheduled to begin on May 16, 2022, is ADJOURNED to May 23, 2022, at 9:00
a.m. Trial shall proceed in Courtroom 15D of the United States Courthouse, 500 Pearl Street,
New York, New York 10007.

        In light of the ongoing COVID-19 pandemic, all individuals seeking entry to 500 Pearl
Street must complete a questionnaire before being allowed entry into the courthouse. To gain
entry to 500 Pearl Street, follow the instructions provided here:

       https://www.nysd.uscourts.gov/covid-19-coronavirus.

       All individuals must practice social distancing at all times in the courthouse. Individuals
must wear a N95, KN95, or KF95 mask that covers their nose and mouth at all times in the
courthouse. Bandanas, gaiters, cloth masks, surgical masks, and masks with valves are not
permitted.

       SO ORDERED.

Dated: May 11, 2022
       New York, New York
